
The People of the State of New York, Respondent,
againstFoster Moore, Appellant.




John R. Lewis, for appellant.
Westchester County District Attorney, for respondent (no brief filed).

Appeal from three judgments of the Justice Court of the Town of North Salem, Westchester County (John Aronon, J.), rendered April 17, 2017. The judgments convicted defendant, upon his pleas of guilty, of criminal possession of a controlled substance in the seventh degree, aggravated unlicensed operation of a motor vehicle in the third degree and operation of a motor vehicle without having a court-ordered ignition interlock device, respectively. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738 [1967]), seeking leave to withdraw as counsel.




ORDERED that the judgments of conviction are affirmed.
We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders v California (386 US 738 [1967]), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel's application for leave to withdraw as counsel is, therefore, granted (see id.; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252 [2011]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]).
BRANDS, J.P., MARANO and RUDERMAN, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: May 03, 2018










